                   U NITED S TATES D ISTRICT C OURT
                                         for the
                                  District of Vermont


United States of America

           v.                                           Crim. No. 2:25-mj-5-1

Teresa Youngblut


                            ORDER OF APPOINTMENT

      The Office of the Federal Public Defender is hereby appointed as attorney of

record for the above-named defendant.

      BY ORDER OF THE COURT.

      Dated at Burlington, in the District of Vermont, this 24th day of January, 2025



                                               JEFFREY S. EATON, Clerk
                                               By: /s/
                                                   /s/ Emerson
                                                       H. Beth Cota
                                                                F. Howe .
                                               Deputy Clerk
